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                         U卜 IITEDSTATES I)ISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA                     APR 2 9 2016
                                  ASHEVILLE DIVIS10N                           u..DIttHttFttRT


UNITED STATES OF ANIIERICA                         )       DOCKET NO.1:16cr52
                                                       )
                v.                             )           ORDER
                                                       )
l) DEORDRICK BOYKIN                             )
     ″WaD Bo                               )
2) TIMOTHY RUSSELL HARKINS                       )
3) PAUL RICHARD LUCAS                           )
4) ALFONSO VILELA RAMIREZ                        )
        ″Ъ/a Nas                                 )
                                                       )




        UPON MOTION of the United States of America, by and through Jill Westmoreland Rose.

United States Attorney tbr the Western District of North Carolina, for an order directing that the

Indictment and Arrest Warrants in the above-captioned case be unsealed; and

        IT APPEARING TO THE COURT that there no longer exists any danger to the attendant
investigation in this case;

       NOW, THEREFORE, IT IS ORDERED that the Indictment and Arrest Warrants in the

above-captioned case be unsealed.

       Ttts 21詭 y of April,2016.


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                                           HONORABLE DEn需  妻  、  而
                                           U.S.MAGISTRATE COURT JUDGE
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